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                                  UNITED STATES DISTRICT COURT
                                             DISTRICT OF ARIZONA                           DEC -g     2019
                                                                                    CLERK U S DISTRICT COURT ··
                                                                                B Y _ DISTRICT OF ARIZONA
United States of America,                                                                                   DEPUTY
PLAINTIFF,
                                                                       CR 19-02738-TUC-RM (JR)
          vs.
                                                                      EXHIBIT LIST
Jan Peter Meister
DEFENDANT.



 PRESIDING JUDGE                         COURTROOM DEPUTY                 COURT REPORTER
 Judge Rosemarv Marquez
 HEARING DATE(S)                         PLAINTIFF ATTORNEY(S)            DEFENDANT ATTORNEY(S)
 December 9, 2019                        Nicole P. Savel, AUSA            Bradley King Roach, Esq.
                                         Beverly K. Anderson, AUSA
 PLFNO.         DFTNO.   DATE ADMITTED                               EXHIBIT

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